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UNITED STATES D|STR|CT COURT

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MEMPHIS DlVlSlON

UNITED STATES OF AMER|CA

-v- 2:050n20290-01-o dmu,g_ l;§`rgg%m

W/D Ct" i-"'\l iilH.»iPHiS
MICHAEL COLE

Wil|iam D. Massey and Lorna S.
McClusl;yl Ftetained

Defense Attorney
3074 East Street
Memphis, TN 38111

 

JUDGMENT |N A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Misdemeanor information on August 15,
2005. Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section M Offense Ml§t
. Concluded
42 U.S.C. § 1307(a) Socia| Security Fraud 05/08/2002 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996

Count(s) Al| Counts of Case Number 02-20165-17-D are dismissed on the motion of the United
States pending receipt by the United States of the civil forfeiture of $300,000.00.

|T |S FUHTHER ORDEFlED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/24/1960 August 15, 2005
Deft’s U.S. Marsha| No.: 10309-078

Defendant’s |V|ailing Address:
1896 Thomas J. Egan Road
Krum, TX 76249

 

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PROBAT|ON

The defendant is hereby placed on probation for a term of 12 Months.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or othercontrol|ed substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:050Fi20290-01-D Defendant Name: Michaei Eiiiot COLE Page 3 of 3

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

f2. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

NO ADD|T|ONAL COND|T|ONS OF PROBAT|ON

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Tota| Fine Total Restitution
$25.00

The Special Assessment shall be due immediately.

FiNE
No fine imposed.

REST|TUT|ON
No Ftestitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20290 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

